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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION


IN RE:

         JOSE C. CARTAGENA and
         W ANDA CARTAGENA ,                                         CASE NUMBER: 6:18-bk-00027-CCJ
                                                                    CHAPTER 13

                          Debtors.
_______________________________________________




                                    MOTION FOR RELIEF FROM STAY



         Comes now the Movant, ONEMAIN FINANCIAL GROUP, LLC, by and through its undersigned

attorney and respectfully represents:

         1.      The Debtors filed a voluntary petition under Chapter 13, Title 11 of the United States Code.

         2.      ONEMAIN FINANCIAL GROUP, LLC, is the holder of a claim in the amount of $15,123.83,

secured by a 2014 Ford Fusion, VIN #3FA6P0H74ER187375. Copies of the Loan Agreement and Disclosure

Statement and Certificate of Title are attached.

         3.      Debtors have failed to make payment and are in default under the terms of the loan

agreement.

         4.      Debtors, as indicated in their Chapter 13 Plan, are surrendering the above-mentioned vehicle.

However, to date, they continue to use the collateral, subjecting it to depreciation and risk of loss.

         5.      Pursuant to the contract, the Debtors are required to maintain insurance coverage in full force

and effect, naming Movant as the loss payee.

         6.      ONEMAIN FINANCIAL GROUP, LLC, lacks adequate protection for its interest in the

collateral.

         7.      Neither the Debtors nor the Trustee have any equity in the collateral and the collateral is not

essential to a successful reorganization.

         8.      If ONEMAIN FINANCIAL GROUP, LLC, is not permitted to enforce its security interest in the
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collateral or provided with adequate protection, it will suffer irreparable injury, loss and damage.

        W HEREFORE, the Movant prays that the automatic stay imposed by 11 USC, Section 362(a) be

modified so as to permit ONEMAIN FINANCIAL GROUP, LLC, to enforce its security interest in the collateral

and that the additional stay period shall not be enforced or that adequate protection be furnished and require

Debtors to maintain insurance coverage on the security and naming Movant loss payee under said policy.

        I HEREBY CERTIFY that a copy of the foregoing has been furnished to Jose C. Cartagena and

W anda Cartagena, Debtors, 2507 Brookstone Drive, Kissimmee, Florida 34744, the address as shown on the

Bankruptcy Notice, and to:     Alejandro Rivera, Attorney for Debtors, 1400 W. Oak Street, F, Kissimmee,

Florida 34741-4000; Laurie K. Weatherford, Trustee, Post Office Box 3450, W inter Park, Florida 32790; and

to the Office of the U.S. Trustee, 400 West Washington Street, Suite 1100, Orlando, Florida 32801, by U.S.

Mail, this 16th day of July, 2018.

                                                            ROLFE & LOBELLO, PA


                                                            /s/Thomas Lobello, III
                                                            __________________________________________
                                                            THOMAS LOBELLO, III, ESQUIRE
                                                            Fla. Bar No.: 603023
                                                            Post Office Box 4400
                                                            Jacksonville, Florida 32201-4400
                                                            (904) 358-1666 / (904) 356-0516 (Telefax)
                                                            Email: tl@ rolfelaw.com / toliver@ rolfelaw.com
                                                            Attorney for MOVANT
